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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA


                                      CIVIL MINUTES – GENERAL

 Case No.    LA CV21-05900 JAK (ASx)                                            Date        November 2, 2021
 Title       Terry Fabricant v. Backlinko LLC, et al.




 Present: The Honorable           JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                    T. Jackson                                               Not Reported
                  Deputy Clerk                                       Court Reporter / Recorder
          Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                    Not Present                                               Not Present


 Proceedings:            (IN CHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR LACK
                         OF PROSECUTION RE INTERNET LISTIING SOLUTIONS, LLC; VOICE
                         SEARCH LOCAL LLC, TIMOTHY WILSON, DANIEL WELLING

The Court, on its own motion, orders Plaintiff to show cause in writing no later than November 9, 2021,
why this action should not be dismissed for lack of prosecution. In the absence of showing good cause,
an action shall be dismissed if the summons and complaint have not been served within 90 days after
the filing of the complaint pursuant to Fed. R. Civ. P. 4(m). In light of the filing of the amended
complaint date of August 19, 2021, proof(s) of service were due by September 9, 2021. An action
may also be dismissed prior to such time if the Plaintiff fails diligently to prosecute the action. The Order
to Show Cause will stand submitted upon the filing of an appropriate response. No oral argument will
be heard unless otherwise ordered by the Court. Plaintiff is advised that the Court will consider the filing
of a responsive pleading to the complaint and/or proof(s) of service, which indicates proper service in
full compliance with the federal rules, on or before the date upon which the response is due, as a
satisfactory response to the Order to Show Cause.

IT IS SO ORDERED.


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                                                             Initials of Preparer      TJ




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